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                                COMBINED TRANSPORT BILL OF LADING

Notwithstanding the heading “Combined Transport Bill of Lading,” the provisions set out and referred to in
this document shall also apply if the transport as described on the face of the Bill of Lading is performed by
one mode of transport only. These provisions constitute a contract between Merchant and Carrier.

(1)      CLAUSE PARAMOUNT:

All carriage under this Bill of Lading to or from the United States shall have effect subject to the provisions
of the Carriage of Goods by Sea Act of the United States, 46 U.S.C. sections 1300-1315 (hereafter,
"COGSA"). Carriage to or from Canada shall have effect under the Carriage of Goods by Water Act of
Canada ("COGWA"). All carriage to and from other States shall be governed by the law of any state making
the Hague Rules or Hague-Visby Rules compulsorily applicable to this Bill of Lading or if there be no such
law, in accordance with the Hague Rules. The provisions of applicable law as set forth above shall apply
to carriage of goods by inland waterways and reference to carriage by sea in such Rules or legislation shall
be deemed to include reference to inland waterways. Except as may be otherwise specifically provided
herein, said law shall govern before the goods are loaded on and after they are discharged from the vessel
whether the goods are carried on deck or under deck and throughout the entire time the goods are in the
custody of Carrier.

(2)      DEFINITIONS:

2.1    "Ship" means the vessel named in this Bill of Lading, or any conveyance owned, chartered, or
operated by Carrier or used by Carrier for the performance of this contract.

2.2      "Carrier" means AIT Worldwide Logistics, Inc. on whose behalf this Bill of Lading has been signed.

2.3       "Merchant" includes the Shipper, the Receiver, the Consignor, the Consignee, the Holder of this
Bill of Lading and any person having a present or future interest in the Goods or any person acting on behalf
of any of the above-mentioned persons.

2.4     "Package" is the largest individual unit of partially or completely covered or contained cargo made
up by or for the Shipper which is delivered and entrusted to Carrier, including palletized units and each
container stuffed and sealed by the Shipper or on its behalf, although the Shipper may have furnished a
description of the contents of such sealed container on this bill of lading.

2.5      "Container" includes any container, trailer, transportable tank, lift van, flat, pallet, or any similar
article of transport used to consolidate goods.

2.6    "Carrier's container or carrier's equipment" includes containers or equipment owned, leased or
used by Carrier in the transportation of Merchant's goods.

2.7     “Goods” mean the cargo described on the face of this Bill of Lading and, if the cargo is packed into
container(s) supplied or furnished by or on behalf of the Merchant, include the container(s) as well.

(3)      SUBCONTRACTING:

Carrier shall be entitled to subcontract directly or indirectly on any terms the whole or any part of the
handling, storage, or carriage of the goods and all duties undertaken by Carrier in relation to the goods.
Every servant, agent, subcontractor (including sub-subcontractors), or other person whose services have
been used to perform this contract shall be entitled to the rights, exemptions from, or limitations of, liability,
defenses and immunities set forth herein. For these purposes, Carrier shall be deemed to be acting as
agent or trustee for such servants, agents, subcontractors, or other persons who shall be deemed to be


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parties to this contract.

(4)      ROUTE OF TRANSPORT:

Carrier is entitled to perform the transport in any reasonable manner and by any reasonable means,
methods and routes. The Ship shall have the liberty, either with or without the goods on board, to at any
time, adjust navigational instruments, make trial trips, dry dock, go to repair yards, shift berths, take in fuel
or stores, embark or disembark any persons, carry contraband and hazardous goods, sail with or without
pilots and save or attempt to save life or property. Delays resulting from such activities shall not be deemed
a deviation.

(5)      HINDRANCES AFFECTING PERFORMANCE:

5.1    Carrier shall use reasonable endeavors to complete transport and to deliver the goods at the place
designated for delivery.

5.2      If at any time the performance of this contract as evidenced by this Bill of Lading in the opinion of
Carrier is or will be affected by any hindrance, risk, delay, injury, difficulty or disadvantage of any kind,
including strike, and if by virtue of the above it has rendered or is likely to render it in any way unsafe,
impracticable, unlawful, or against the interest of Carrier to complete the performance of the contract,
Carrier, whether or not the transport is commenced, may without notice to Merchant elect to: (a) treat the
performance of this contract as terminated and place the goods at Merchant's disposal at any place Carrier
shall deem safe and convenient, or (b) deliver the goods at the place of delivery.

In any event, Carrier shall be entitled to, and Merchant shall pay, full freight for any goods received for
transportation and additional compensation for extra costs and expenses resulting from the circumstances
referred to above.

5.3     If, after storage, discharge, or any actions according to sub-part 5.2 above Carrier makes
arrangements to store and/or forward the goods, it is agreed that he shall do so only as agent for and at
the sole risk and expense of Merchant without any liability whatsoever in respect of such agency.

5.4      Carrier, in addition to all other liberties provided for in this Article, shall have liberty to comply with
orders, directions, regulations or suggestions as to navigation or the carriage or handling of the goods or
the ship howsoever given, by any actual or purported government or public authority, or by any committee
or person having under the terms of any insurance on the Ship, the right to give such order, direction,
regulation, or suggestion. If by reason of and/or in compliance with any such order, direction, regulation,
or suggestions, anything is done or is not done the same shall be deemed to be included within the contract
of carriage and shall not be a deviation.

(6)      BASIC LIABILITY:

6.1    Carrier shall be liable for loss of or damage to the goods occurring between the time when it takes
goods into its custody and the time of delivery but shall not be liable for any consequential or special
damages arising from such loss or damage.

6.2      If it is established that the loss of or damage to the goods occurred during sea carriage, liability
shall be governed by the legal rules applicable as provided in Section 1 of this Bill of Lading.

6.3      Notwithstanding Section 1 of this Bill of Lading, if the loss or damage occurred not during sea
carriage and it can be proved where the loss or damage occurred, the liability of Carrier in respect of such
loss or damage shall be determined by the provisions contained in any international convention or national
law, which provisions:


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         (a)     cannot be departed from by private contract to the detriment of Merchant, and

         (b)     would have applied if Merchant had made a separate and direct contract with Carrier in
                 respect of the particular stage of transport where the loss or damage occurred and received
                 as evidence thereof any particular document which must be issued in order to make such
                 international convention or national law applicable;

         (c)     where (a) or (b) above do not apply, any liability of Carrier shall be limited to the amount
                 provided in accordance with Section 7 of this Bill of Lading.

6.4    If it cannot be determined when the loss of or damage to the goods occurred, liability shall be
governed as provided in Section 6.2 above.

6.5      Carrier does not undertake that the goods shall be delivered at any particular time or for any
particular market and shall not be liable for any direct or indirect losses caused by any delay.

6.6      Carrier shall not be liable for any loss or damage arising from:

         (a)     an act or omission of Merchant or person other than Carrier acting on behalf of Merchant
                 from whom Carrier took the goods in charge,

         (b)     compliance with the instructions of any person authorized to give them,

         (c)     handling, loading, stowage or unloading of the goods by or on behalf of Merchant,

         (d)     inherent vice of the goods,

         (e)     lack or insufficiency of or defective condition of packing in the case of goods, which by their
                 nature are liable to wastage or damage when not packed or when not properly packed,

         (f)     insufficiency or inadequacy of marks or numbers on the goods, coverings or unit loads,

         (g)     fire, unless caused by actual fault or privity of Carrier,

         (h)     any cause or event which Carrier could not avoid and the consequences of which he could
                 not prevent by the exercise of due diligence.

6.7     When Carrier pays claims to Merchant, Carrier shall automatically be subrogated to all rights of
Merchant against all others, including Inland Carriers, on account of the losses or damages for which such
claims are paid.

6.8     The defenses and limits of liability provided for in this Bill of Lading shall apply in any action or claim
against Carrier relating to the goods, or the receipt, transportation, storage or delivery thereof, whether the
action be founded in contract, tort or otherwise.

(7)      COMPENSATION FOR LOSS AND DAMAGE:

7.1      Unless Merchant declares a higher value as provided below, Carrier's liability for compensation for
loss of or damage to goods shall be limited as follows: (a) for loss or damage occurring during any portion
of the carriage governed by COGSA by force of law, Carrier’s liability shall in no case exceed the amount
of US$500 per package or, for goods not in packages, per customary freight unit; (b) for loss or damage
occurring during surface transportation in Mexico, Carrier’s liability shall not exceed US$0.10 per pound of


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the portion of the Goods adversely affected; (c) for loss or damage occurring during any portion of the
carriage when the foregoing limitation provisions are inapplicable, including periods of surface
transportation in other regions and any portion of the carriage where COGSA, COGWA, the Hague Rules,
or the Hague Visby Rules are otherwise incorporated herein, but are not applicable by force of law, Carrier’s
liability shall be limited to the lesser of US$500 per package or US$0.50 per pound of the portion of the
Goods adversely affected. When it cannot be ascertained at what stage of the carriage the loss or damage
occurred, it shall be presumed to have occurred during periods of surface transportation. Carrier shall also
be entitled to full benefits of the laws and regulations of any country and the provisions of the contracts of
any subcontractor that may be applicable to the Goods before loading or after discharge of the vessel,
including all defenses and exclusions set forth therein and any limitations that are lower than those set forth
herein.

The shipper or Merchant, with the consent of Carrier, may avoid these limitations, or any other limitation
imposed by applicable law to the extent permitted thereby, by declaring a higher value for the Goods in the
space provided on the front of this Bill of Lading and paying extra freight per Carrier’s tariff, in which case
such higher value shall be the limit of Carrier’s liability. Any partial loss or damage shall be adjusted pro
rata on the basis of such declared value.

Where a container is stuffed by Shipper or on its behalf, and the container is sealed when received by
Carrier for shipment, Carrier's liability will be limited to US$500 with respect to the contents of each such
container, except when the Shipper declares the value on the face hereof and pays additional charges on
such declared value as stated in Carrier's tariff. The freight charged on sealed containers when no higher
valuation is declared by the Shipper is based on a value of US$500 per container. However, Carrier shall
not, in any case, be liable for an amount greater than the actual loss to the person entitled to make the
claim. Carrier shall have the option of replacing lost goods or repairing damaged goods.

7.2      In any case where Carrier's liability for compensation may exceed the amounts set forth in Section
7.1 above, compensation shall be calculated by reference to the value of the goods, according to their
current market price, at the time and place they are delivered, or should have been delivered, in accordance
with this contract.

7.3    If the value of the goods is less than US$500 per package or per customary freight unit, their value
for compensation purposes shall be deemed to be the invoice value, plus freight and insurance, if paid.

7.4     Carrier shall not be liable to any extent for any loss of or damage to or in connection with precious
metals, stones, or chemicals, jewelry, currency, negotiable instruments, securities, writings, documents,
works of art, curios, heirlooms, or any other valuable goods, including goods having particular value only
for Merchant, unless the true nature and value of the goods have been declared in writing by Merchant
before receipt of the goods by the Carrier or Inland Carrier, the same is inserted on the face of this Bill of
Lading and additional freight has been paid as required.

7.5    Carrier will not arrange for insurance on the goods except upon express instructions from the
Consignor and then only at Consignor’s expense and presentation of a declaration of value for insurance
purposes prior to shipment.

7.6      The liability of Carrier and its affiliates arising from agency (non-carrier) services, including, but not
limited to, export/import-related services and with respect to any fines or penalties imposed, is limited to
circumstances of sole independent negligence and to US$50.00 per entry or shipment.


(8)      DESCRIPTION OF GOODS AND INFORMATION FOR REGULATORY COMPLIANCE:

Carrier is responsible for the collection and transmittal of certain information prior to lading of the Goods in


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order to comply with applicable laws, treaties, rules and regulations promulgated by the countries of origin
and destination (collectively “Applicable Law”), including, but not limited to, those contained in the Safety
of Life at Sea Convention (“SOLAS”), and applicable customs regulations. Merchant shall furnish Carrier
with the information necessary to achieve compliance with Applicable Law, including, without limitation,
precise commodity descriptions, numbers and quantities of the lowest external packaging unit, the shipper’s
complete name and address, the consignee’s or the owner’s or owner’s representative’s complete name
and address, hazardous materials codes, container seal numbers, and verified shipment weights in
accordance with SOLAS. For these, and other purposes, Carrier relies on information provided by Merchant
in a timely fashion. Merchant warrants to Carrier that all particulars of the goods, including, without
limitation, the precise descriptions, marks, number, quantity, weight, seal numbers, identities of shipper and
consignee, hazardous materials codes, and verified shipment weights furnished by Merchant are correct
and Merchant shall indemnify and hold harmless Carrier against all claims, penalties, losses or damages
arising from any inaccuracy or lack of timely presentation of such information.

(9)      CARRIER'S CONTAINERS:

If goods are received by Carrier not already packed in containers, Carrier may pack them in any type
container. Merchant shall be liable to Carrier for damage to Carrier's containers or equipment if such
damage occurs while such equipment is in control of Merchant or his agents. Merchant indemnifies Carrier
for any damage or injury to persons or property caused by Carrier's containers or equipment during handling
by or when in possession or control of Merchant.

(10)     CONTAINER PACKED BY MERCHANT:

If Carrier receives the goods already packed into containers:

         1.     This Bill of Lading is prima facie evidence of the receipt of the particular number of
                containers set forth, and that number only. Carrier accepts no responsibility with respect
                to the order and condition of the contents of the containers;

         2.     Merchant warrants that the stowage and seals of the containers are safe and proper and
                suitable for handling and carriage and indemnifies Carrier for any injury, loss or damage
                caused by breach of this warranty;

         3.     Delivery shall be deemed as full and complete performance when the containers are
                delivered by Carrier with the seals intact; and

         4.     Carrier has the right but not the obligation to open and inspect the containers at any time
                without notice to Merchant, and expenses resulting from such inspections shall be borne
                by Merchant; and

         5.     Merchant shall inspect containers before stuffing them and the use of the containers shall
                be prima facie evidence of their being sound and suitable for use.

(11)     DANGEROUS GOODS:

11.1     Merchant may not tender goods of a dangerous nature without written application to Carrier and
Carrier's acceptance of the same. In the application, Merchant must identify the nature of the goods with
reasonable specificity as well as the names and addresses of the shippers and consignees.

11.2    Merchant shall distinctly and permanently mark the nature of the goods on the outside of the
package and container in a form and manner as required by law and shall submit to Carrier or to the
appropriate authorities all necessary documents required by law or by Carrier for the transportation of such


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goods.

11.3    If the goods subsequently, in the judgment of Carrier, become a danger to Carrier, the Ship, or
other cargo, Carrier may dispose of the goods without compensation to Merchant and Merchant shall
indemnify Carrier for any loss or expenses arising from such action.

(12)     DECK CARGO:

Carrier has the right to carry the goods in any container under deck or on deck. Carrier is not required to
note "on deck stowage" on the face of this Bill of Lading and goods so carried shall constitute under deck
stowage for all purposes including General Average. Except as otherwise provided by any law applicable
to this contract, if this Bill of Lading states that the cargo is stowed on deck, then Carrier shall not be liable
for any non-delivery, misdelivery, delay or loss to goods carried on deck, whether or not caused by Carrier's
negligence or the ship's unseaworthiness.

(13)     HEAVY LIFT:

13.1     Single packages with a weight exceeding 2,240 pounds gross not presented to Carrier in enclosed
containers must be declared in writing by Merchant before receipt of the packages by Carrier. The weight
of such packages must be clearly and durably marked on the outside of the package in letters and figures
not less than two inches high.

13.2       If Merchant fails to comply with the above provisions, Carrier shall not be liable for any loss of or
damage to the goods, persons or property, and Merchant shall be liable for any loss of or damage to
persons or property resulting from such failure and Merchant shall indemnify Carrier against any loss or
liability suffered or incurred by Carrier as a result of such failure.

13.3   Merchant agrees to comply with all laws or regulations concerning overweight containers and
Merchant shall indemnify Carrier against any loss or liability suffered or incurred by Carrier as a result of
Merchant's failure to comply with such laws or regulations.

(14)     DELIVERY:

14.1     Carrier shall have the right to deliver the goods at any time at any place designated by Carrier
within the commercial or geographic limits of the port of discharge or place of delivery shown in this Bill of
Lading. Carrier's responsibility shall cease when delivery has been made to Merchant, any person
authorized by Merchant to receive the goods, or in any manner or to any other person in accordance with
the custom and usage of the port of discharge or place of delivery. If goods should remain in Carrier's
custody after discharge from the ship and possession is not taken by Merchant, after notice, within the time
allowed in Carrier's applicable tariff, the goods may be considered to have been delivered to Merchant or
abandoned at Carrier's option, and may be disposed of or stored at Merchant's expense.

14.2    This Bill of Lading shall only be a negotiable document of title if consigned “to order,” or order of a
named consignee. If negotiable, an original bill of lading, properly endorsed must be surrendered when the
Goods are delivered. Subject to applicable law, if the person receiving the Goods wishes to take delivery
without surrender of an original endorsed bill of lading, and if Carrier agrees in its sole discretion to deliver
the goods without such surrender, the person receiving the Goods agrees to indemnify Carrier against all
damages which Carrier may be liable to pay as a result of delivering the Goods without such surrender.
Upon surrender of one original bill of lading, all other original bills of lading will be immediately void.
Negotiable bills of lading will in all events become void six months after date of issuance, provided Carrier
shall continue to be entitled to all rights and limitations of liability herein.

14.3     This document shall constitute a non-negotiable bill of lading if consigned directly to a nominated


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person or entity and not consigned “to order,” or order of a named consignee. Delivery of the Goods under
a non-negotiable bill of lading may be made, at the sole discretion of the Carrier, to the nominated consignee
without surrender of an original counterpart; such delivery shall constitute due delivery hereunder; Carrier
may, but is under no obligation to, demand the surrender of this document before delivering the Goods. In
the event of any ambiguity, this document shall constitute a non-negotiable bill of lading, and Carrier may,
but is not required to, demand its original surrender before the release of the Goods. The consignee
receiving the Goods in all events represents their entitlement to such receipt and as such agrees to
indemnify Carrier against all damages which Carrier may be liable to pay as a result of releasing the Goods
to the consignee’s custody.

(15)     NOTICE OF CLAIM:

Written notice of claims for loss of or damage to goods occurring or presumed to have occurred while in
the custody of Carrier must be given to Carrier at the port of discharge before or at the time of removal of
the goods by one entitled to delivery. If such notice is not provided, removal shall be prima facie evidence
of delivery in good condition by Carrier. If such loss or damage is not apparent, Carrier must be given
written notice within 3 days of the delivery. All claims hereunder must be filed against Carrier in writing (i)
via post or courier at the following address: AIT Worldwide Logistics, Inc., Attn: Cargo Claims Department,
701     N.    Rohlwing      Road,     Itasca,  Illinois,  60143,    U.S.A.,    or    (ii)  electronically   at
ClaimsAdmin@aitworldwide.com.

(16)     FREIGHT AND CHARGES:

16.1      Freight may be calculated on the basis of the particulars of the goods furnished by Merchant, who
shall be deemed to have guaranteed to Carrier the accuracy of the contents, weight, measure, or value as
furnished by him at the time of receipt of the goods by the Carrier or Inland Carrier, but Carrier for the
purpose of ascertaining the actual particulars may at any time and at the risk and expense of Merchant,
open the container or package and examine contents, weight, measure, and value of the goods. In case
of incorrect declaration of the contents, weight, measure and or value of the goods, Merchant shall be liable
for and bound to pay to Carrier: (a) the balance of freight between the freight charged and that which would
have been due had the correct details been given, plus (b) expenses incurred in determining the correct
details, plus (c) as liquidated and ascertained damages, an additional sum equal to the correct freight.
Quotations as to fees, rates of duty, freight charges, insurance premiums or other charges given by Carrier
to Merchant are for informational purposes only and are subject to change without notice and shall not
under any circumstances be binding upon Carrier unless Carrier in writing specifically undertakes the
handling of transportation of the shipment at a specific rate and that rate is filed in Carrier’s tariff.

16.2     Freight shall be deemed earned on receipt of goods by Carrier, the goods lost or not lost, whether
the freight is required to be prepaid or collected at destination. Payment shall be in full and in cash without
any offset, counterclaim, or deduction, in the currency named in this Bill of Lading, or another currency at
Carrier's option. Interest at 1-1/2% per month shall run from the date when freight and charges are due.
Payment of freight charges to a freight forwarder, broker or anyone other than directly to Carrier shall not
be deemed payment to the Carrier. Merchant shall remain liable for all charges hereunder notwithstanding
any extension of credit to the freight forwarder or broker by Carrier. Full freight shall be paid on damaged
or unsound goods. Returned checks shall be subject to a $100 fee.

16.3    Merchant shall be liable for all dues, duties, fines, taxes and charges, including consular fees, levied
on the goods. Merchant shall be liable for return freight and charges on the goods if they are refused export
or import by any governmental authority. Merchant shall be liable for all demurrage or detention charges
imposed on the goods or their containers by third parties.

16.4   The Shipper, consignee, holder hereof, and owner of the goods, and their principals, shall be jointly
and severally liable to Carrier for the payment of all freight and charges, including advances and shall, in


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any referral for collection or action for monies due to Carrier, upon recovery by Carrier, pay the expenses
of collection and litigation, including reasonable attorneys' fees. This provision shall apply regardless of
whether the front of this bill of lading has been marked "prepaid" or "freight prepaid" so long as freight and
charges remain unpaid.

16.5    The Shipper, consignee, holder hereof, and owner of the goods, and their principals, shall jointly
and severally indemnify Carrier for all claims, fines, penalties, damages, costs and other amounts which
may be incurred or imposed upon Carrier by reason of any breach of any of the provisions of this Bill of
Lading or of any statutory or regulatory requirements.

(17)     LIEN:

Carrier shall have a lien on any and all property (and documents relating thereto) of Merchant, in its actual
or constructive possession, custody or control or en route, which lien shall survive delivery, for all charges,
expenses or advances owed to Carrier in connection with the shipment on which the lien is claimed, prior
shipments of Merchant, or both. Carrier may sell at public auction or private sale, upon 10 days written
notice, registered mail to Merchant, the goods, wares and/or merchandise or so much as may be necessary
to satisfy such lien and the costs of recovery, including the value of management time and effort, and apply
the net proceeds of such sale to the payment of the amount due Carrier. The surplus, if any, from such sale
shall be transmitted to Merchant, and Merchant shall be liable for any deficiency in the sale.

(18)     TIME BAR:

Carrier shall be discharged from all liability for loss of or damage to goods unless suit is brought within one
(1) year after delivery of the goods or the date when the goods should have been delivered. Suit shall not
be deemed brought against Carrier until jurisdiction shall have been obtained over Carrier by service of
summons. The time bar for overcharge claims shall be 36 months.

(19)     JURISDICTION:

This contract is to be governed by the laws of the United States and the State of Illinois, with the exception
of its conflict of laws principles. All disputes arising from the shipment to which this bill of lading pertains
may only be instituted in the United States District Court for the Northern District of Illinois, which shall have
exclusive jurisdiction and venue over such disputes. Merchant and Carrier agree that they are each
personally subject to the jurisdiction of that court.

(20)      GENERAL AVERAGE:

20.1    General Average shall be adjusted at New York, or any other port at Carrier's option, according to
the York-Antwerp Rules of 1994. The General Average statement shall be prepared by adjusters appointed
by Carrier.

20.2    In the event of accident, damage, danger or disaster after commencement of the voyage resulting
from any cause whatsoever, whether due to negligence or not, for the consequence of which Carrier is not
responsible by statute, contract or otherwise, Merchant shall contribute with Carrier in General Average to
the payment of any sacrifice, loss or expense of a General Average nature that may be made or incurred,
and shall pay salvage or special charges incurred in respect of the goods. If a salving vessel is owned or
operated by Carrier, salvage shall be paid for as fully as if the salving vessel or vessels belonged to
strangers.

(21)     BOTH-TO-BLAME COLLISION CLAUSE:

If the ship comes into collision with another vessel as a result of negligence of the other vessel and any

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negligence or fault on the part of Carrier or its servants or subcontractors, Merchant shall indemnify Carrier
against all loss or liability to the other or non-carrying vessel or her owners, insofar as such loss or liability
represents loss of, or damage to, or any claim whatsoever of Merchant paid or payable by the other or non-
carrying vessel or her owners to Merchant and set-off, recouped or recovered by the other or non-carrying
vessel or her owners as part of their claim against the carrying ship or her owner. This provision shall apply
as well where the owners, operators or those in charge of any ship or ships or objects other than, or in
addition to, the colliding ships or objects are at fault with respect to a collision or contact.

(22)     CARRIERS' TARIFFS:

The goods carried under this Bill of Lading are also subject to all the terms and conditions of tariff(s)
published pursuant to the regulations of the United States Federal Maritime Commission or any other
regulatory agency which governs a particular portion of the carriage and the terms are incorporated herein
as part of the terms and conditions of this Bill of Lading. Copies of Carrier’s tariff(s) may be obtained from
Carrier’s tariff website, the address of which is set forth on the U.S. Federal Maritime Commission’s website
at www.fmc.gov.

(23)     PERISHABLE CARGO:

23.1     Goods of a perishable nature shall be carried in ordinary containers without special protection,
services or other measures unless there is noted on the reverse side of this Bill of Lading that the goods
will be carried in a refrigerated, heated, electrically ventilated or otherwise specially equipped container or
are to receive special attention in any way. Carrier shall not be liable for any loss of or damage to goods
in a special hold or container arising from latent defects, breakdown, or stoppage of the refrigeration,
ventilation or heating machinery, insulation, ship’s plant, or other such apparatus of the vessel or container,
provided that Carrier shall before or at the beginning of the transport exercise due diligence to maintain the
special hold or container in an efficient state.

23.2    Merchant undertakes not to tender for transportation any goods that require refrigeration without
given written notice of their nature and the required temperature setting of the thermostatic controls before
receipt of the goods by Carrier. In case of refrigerated containers packed by or on behalf of Merchant,
Merchant warrants that the goods have been properly stowed in the container and that the thermostatic
controls have been adequately set before receipt of the goods by Carrier.

23.3     Merchant's attention is drawn to the fact that refrigerated containers are not designed to freeze
down cargo which has not been presented for stuffing at or below its designated carrying temperature.
Carrier shall not be responsible for the consequences of cargo tendered at a higher temperature than that
required for the transportation.

23.4    If the above requirements are not complied with, Carrier shall not be liable for any loss of or damage
to the goods whatsoever.


(24)     SEVERABILITY:

The terms of this Bill of Lading shall be severable, and, if any part or term hereof shall be held invalid, such
holding shall not affect the validity or enforceability of any other part or term hereof.

(25) VARIATION OF THE CONTRACT:

No servant or agent of Carrier shall have power to waive or vary any of the terms hereof unless such
variation is in writing and is specifically authorized or ratified in writing by Carrier.



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